          Case 2:20-cv-02520-MLCF Document 8 Filed 11/09/20 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


 KELLY NELSON NORRIS                                                          CIVIL ACTION

 VERSUS                                                                            NO. 20-2520

 TERREBONNE PARISH CRIMINAL                                                 SECTION: “F” (3)
 JUSTICE COMPLEX


                                           ORDER

        The Court, having considered the complaint, the record, the applicable law, the Report and

Recommendation of the United States Magistrate Judge, and the failure of any party to file an

objection to the Magistrate Judge’s Report and Recommendation, hereby approves the Report and

Recommendation of the United States Magistrate Judge and adopts it as its opinion in this matter.

Therefore,

        IT IS ORDERED that that plaintiff’s complaint is DISMISSED WITHOUT

PREJUDICE to his right to reassert his claims against a proper defendant in a court of appropriate

jurisdiction.

        New Orleans, Louisiana, this _____          November 2020.
                                      9th day of _______________,




                                             __________________________________________
                                                     MARTIN L.C. FELDMAN
                                                 UNITED STATES DISTRICT JUDGE
